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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
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 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for Kirk Sanderson
 6
                                        UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                         Case No.: 13-mj-115 EFB

11                      Plaintiff,                     DEFENDANT KIRK SANDERSON’S
12                                                     REQUEST FOR EXTENSION OF TIME
              vs.                                      TO SUBMIT SECURED BOND
13                                                     DOCUMENTATION TO THE COURT
14   KIRK SANDERSON, et al.,
                                                       Date:   April 22, 2013
15                      Defendant.
16
17                      IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney Jared Dolan, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel
19   for Defendant KIRK SANDERSON, that the deadline for the Defendant to submit
20   secured bond paperwork to the Court be extended to April 29, 2013.
21            On April 15, 2013, the parties appeared before Judge Brennan to address
22   Defendant KIRK SANDERSON’S custody status. The court ordered Mr. Sanderson
23   released on a $100,000 bond to be secured by a $50,000 bond posted against the
24   Defendant’s mother’s and step-father’s property in Vacaville, California, and the
25   remaining $50,000.00 to be secured by a bond to be posted against any equity in the
26   home of the Defendant’s father and step-mother. Mr. Sanderson was given until the close
27   of business on April 22, 2013, to submit the appropriate paperwork to the court.
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 1            Notwithstanding Mr. Sanderson’s and his family’s diligent efforts to gather the
 2   necessary paperwork, they have been unable to complete the process, and will need the
 3   additional time requested to do so.
 4            Mr. Sanderson’s father, Charles Kirk, had scheduled an appraisal for this
 5   weekend, but unfortunately, the appraiser did not show up for the appointment. He is
 6   completing the appraisal as soon as possible. Likewise, Mr. Sanderson’s mother, is also
 7   in the process of completing the appraisal of her home.
 8            In communicating with the parties, it is believed that all necessary appraisals and
 9   recordings of title documents can be completed by Monday, April 29, 2013.
10            For the aforementioned reasons, the parties respectfully request the Court grant the
11   requested extension of time for the Defendant to submit his secured bond paperwork to
12   the Court.
13
14
15
16   DATED:             April 22, 2013                  /S/   Jared Dolan___________
                                                        JARED DOLAN
17                                                      Attorney for Plaintiff
18
19                                                      /S/   Clemente M. Jiménez________
20                                                      CLEMENTE M. JIMÉNEZ
                                                        Attorney for Kirk Sanderson
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 1
                                            ORDER
 2
 3   IT IS SO ORDERED, that the request for extension of time for the Defendant to submit
 4   secured bond paperwork to the court be granted. The defendant shall submit all
 5   necessary paperwork to the Court by close of business on April 29, 2013.
 6
     This 22nd day of April, 2013                   /s/ Carolyn K. Delaney
 7                                                  HON. Carolyn K. Delaney
 8                                                  United States Magistrate Judge
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